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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,
            Plaintiff,

       vs.                                               No. 00-40104-01, 02-JTM

WILLIAM LEONARD PICKARD and
CLYDE APPERSON,
            Defendants.




                             MEMORANDUM AND ORDER


       This matter is before the court on the government’s Motion for Order (Dkt. 843),

which seeks to lift the stay the court previously imposed. On November 17, 2017 (Dkt.

803), the court stayed the unsealing of the Skinner DEA informant file, pending the

government’s appeal of the earlier decision that the file was a judicial record subject to

the common law right of access. The subsquent appeal was dismissed after the

government agreed to produce the file, and after a series of rulings the court has

approved the production of a redacted version of the file. (Dkt. 842).

       For good cause shown, the court hereby grants the motion to lift the stay and

authorizes the government to file the redacted version. The defendants oppose this relief

(Dkt. 844), but the court is unable to discern any substantial reason for refusing the relief

sought. The defendants sought the unsealed production of the Skinner informant file

while the government sought to stay the production. The Skinner file will be produced
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in a version which omits less than 1% of the original content, all of which is personal

information (such as social security numbers) which is almost always redacted in judicial

records.

       The defendants also ask that the court clarify its orders regarding the unsealing.

They argue that the file should be produced “in hard copy form only, and should not be

electronically filed, “citing “concerns about making the Skinner DEA file publicly

available.“ (Dkt. 845, at 1-2). But these concerns were those of the government (Dkt. 802),

and the government no longer invokes them as a reason to keep the file under seal. Again,

the defendants are simply receiving what they fought for through long years of effort—

public access to virtually the entire Skinner file.

       The stay previously entered is lifted, and the government is hereby directed to file

unsealed the redacted Skinner file.

       IT IS ACCORDINGLY ORDERED this 4th day of February, 2019, that the

government’s Motion to Lift Stay and File Unsealed (Dkt. 843) is granted, defendants’

Motion (Dkt. 845) seeking to maintain the stay and bar filing of the file is denied.




                                           s/ J. Thomas Marten
                                           J. Thomas Marten, Judge




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